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               IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )
 v.                                                   )
                                                      )     Case No. 13-CR-28-JED
 DONYALE STANCLE,                                     )
                                                      )
                        Defendant.                    )


                                     OPINION AND ORDER

        The Court has for its consideration defendant’s First Motion to Suppress evidence from

 October 21, 2013 (Doc. 1796) and defendant’s Second Motion to Suppress evidence from

 February 5, 2013 (Doc. 1797). The government has opposed both motions. (Docs. 1813, 1814).

 On April 15, 2016, the Court held an evidentiary hearing on the motions. The following Tulsa

 Police Department officers testified on behalf of the government: Corporal Adam Dawson,

 Corporal William Howard Jenkins, Corporal Ian Adair, Detective James Bohanon, and Officer

 Tyler Turnbough. At the time of the events underlying both of defendant’s motions, all the

 officers were assigned to the Organized Gang Unit in the Special Investigations Division.

 Defendant called no witnesses to testify at the hearing.

 I.     Background

        This is a complex case involving, at its peak, 53 defendants. A severance plan was

 implemented and Mr. Stancle was one of six defendants placed in Severance Group F. (Doc.

 868). Now, Mr. Stancle is the only defendant remaining in this group.

        Defendant is charged in Count One of the Sixth Superseding Indictment with Conspiracy

 to Possess with Intent to Distribute, Distribution and to Manufacture 280 grams or more of a
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 detectable amount of cocaine base “crack” in violation of 21 U.S.C. §§ 841(a)(1),

 841(b)(1)(A)(iii), and 846.    Count one alleges as an object of the conspiracy, Possession with

 Intent to Distribute and Distribution of 100 kilograms or more of marijuana in violation of 21

 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(vii). Count one also alleges as an object of the conspiracy,

 Possession with Intent to Distribute and Distribution of 5 kilograms or more of cocaine, in

 violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(ii).

 II.    Facts

        A. First Motion to Suppress

        The government presented the uncontroverted testimony of Officers Turnbough and

 Bohanon to relay the events from October 21, 2013. The Court finds no reason to question the

 officers’ credibility, as both appeared truthful and their sworn testimony was consistent and

 detailed regarding the initiation of a traffic stop, the subsequent search of defendant and another

 individual, as well as the search of the vehicle. Their testimony was as follows:

        On October 21, 2013 at around 2:30 p.m., Officers Turnbough and Bohanon were on

 patrol in the area of 500 E. Tecumseh Street in Tulsa. Both officers testified that while on patrol,

 they received a call from a surveillance unit with a request to stop a particular vehicle.1 The

 officers located the vehicle in question, which they began to follow. The officers initiated a

 traffic stop after they both observed the driver fail to signal a right hand turn.

        Officer Bohanon approached the vehicle from the passenger’s side and Officer

 Turnbough approached from the driver’s side. Both officers testified that they smelled burnt

 marijuana coming from the open windows as they approached the vehicle. The officers removed
 1
   The officers testified that it is common to receive requests to stop vehicles under surveillance,
 but that it is understood that they have to develop their own probable cause in order to stop the
 vehicle. The officers further testified that it is very common in these situations to ultimately fail
 to observe a traffic violation, in which case they are unable to initiate a traffic stop at that time.

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 the defendant, who was the driver of the vehicle, and the passenger, Demarcus Johnson, from the

 vehicle and handcuffed them. Officer Bohanon testified that the occupants were detained to

 preserve evidence. Officer Bohanon remained with defendant and Mr. Johnson while Officer

 Turnbough conducted a records check and ultimately found an outstanding misdemeanor warrant

 for Mr. Johnson.

        Officer Turnbough testified that he searched the vehicle and found no marijuana. He

 later searched defendant and did not find any marijuana on defendant’s person. There was also

 no marijuana found on Mr. Johnson. Officer Bohanon explained that the odor of burnt marijuana

 “lingers,” by attaching itself to a vehicle and an individual’s clothing, and thus it was not

 surprising that the officers were unable to find any burnt marijuana.

        However, Officer Turnbough found $940 in cash in defendant’s back left pocket, which

 consisted of four $100 bills and the rest in $20 bills. Defendant was released after the officers

 terminated the traffic stop, and the cash was returned to his possession. Mr. Johnson was taken

 into custody and arrested for his warrant.        The officers testified that they exercised their

 discretion in deciding not to issue defendant a citation for the traffic violation.

        Officer Turnbough reported and testified that the purpose of the stop and resulting Field

 Interview Report was to document the association between Mr. Johnson and defendant, and their

 presence in the area where surveillance was being conducted by law enforcement.

        B. Second Motion to Suppress

        At the hearing, the government offered the testimony of Officers Dawson, Jenkins, Adair,

 and Bohanon. The Court also finds that these witnesses were credible, and their testimony was

 consistent with one another regarding the initiation of a traffic stop around 10:13 p.m. on




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 February 5, 2013, the subsequent search of defendant and the other individual in the vehicle, and

 the search of the vehicle.

         Officers Dawson, Jenkins, and Adair all testified that on the night of February 5, 2013,

 they were patrolling the area of 2400 North Boston Place in Tulsa in an unmarked patrol car.

 Dawson was driving the vehicle, Jenkins sat in the passenger seat, and Adair sat in the rear right

 seat.

         The three officers testified that they had been frequently patrolling that particular area

 because it was the location of a high profile gang murder in December 2012 that had resulted in a

 series of retaliatory gang-related shootings. While the patrol car was facing north on North

 Boston Place while stopped at a stop sign at the intersection of North Boston Place and Apache

 Street, Officer Dawson observed a Dodge Charger driving toward him.                 The Charger was

 stopped at the intersection after traveling westbound on Apache Street and then made a left,

 turning south onto Boston Place toward the patrol car. Officer Dawson flashed the patrol car’s

 spotlight to illuminate the inside of the vehicle.2 The spotlight revealed that the driver, Jamar

 Stewart, and the passenger, defendant Stancle, were not wearing seatbelts. Officer Dawson

 immediately made a U-turn, turned his lights on, and initiated a traffic stop.          The other two



 2
   The officers testified that there is no formal Tulsa Police Department policy regarding the use
 of a spotlight to illuminate the inside of a moving vehicle. Officer Adair testified that, as of a
 few months ago, it was still an occasional practice to spotlight moving vehicles in the Organized
 Gang Unit. Officer Dawson testified that there was nothing about that particular vehicle that
 prompted him to use the spotlight. Rather, the recent events that had occurred there caused him
 to use the spotlight. All three officers testified that the purpose of using a spotlight in that
 neighborhood at that time of night during that time period was to obtain a visual of the occupants
 and to see if there were any traffic violations, and that they would have likely shined the
 spotlight at any vehicle coming toward them that night.
         While Officer Dawson testified that he did not frequently flash a spotlight on moving
 vehicles, that night was neither the first nor the last time he did. Officer Dawson testified that
 his intent in flashing the spotlight was not to blind the driver. Jenkins testified that in his opinion,
 the illumination did not appear to blind the driver and the light only lasted for “a few seconds.”
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 officers in the car testified that they did not personally observe the fact that defendant and Mr.

 Stewart were not wearing seatbelts.3     The vehicle stopped in the driveway of Mr. Stewart’s

 aunt’s house, approximately half a block south of the intersection. Officer Dawson made contact

 with Mr. Stewart on the driver’s side of the vehicle, and Officers Jenkins and Adair made contact

 with defendant on the passenger side.

        Both Officers Dawson and Jenkins testified that as they approached the car, they detected

 the odor of raw marijuana emanating from the vehicle. Officer Dawson made a hand gesture to

 the officers—tapping his nose—indicating to them that he smelled marijuana. Jenkins also

 testified that he believed he saw a marijuana smoking device in the center console of the

 vehicle.4 Based on these observations, the officers removed both Mr. Stewart and defendant

 from the vehicle to perform a records check.

        As defendant was exiting the vehicle, both Jenkins and Adair observed a large bulge in

 defendant’s front right pocket. They both testified that they believed the bulge to be a large wad

 of cash. Officer Adair then informed defendant that he was being detained, and he was placed in

 handcuffs for officer safety. Jenkins also noticed a partially filled bottle of Crown Royal in the

 car as defendant left the vehicle. While Officers Adair and Dawson remained with the two

 individuals, Jenkins began to search the vehicle.

        Officer Dawson testified that, at some point while Jenkins was searching the vehicle, he

 observed defendant chewing on something. Based on Dawson’s experience and his observation

 that defendant was not speaking, Dawson believed that defendant may have been chewing on

 contraband. Defendant refused to open his mouth even after repeated requests from the officers.



 3
   However, Jenkins testified that when he first approached defendant in the vehicle, he observed
 that defendant was not wearing his seatbelt. The seatbelt was instead tucked behind him.
 4
   The object Jenkins believed to be a smoking device was later identified as a door handle.
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 The officers attempted to open defendant’s mouth, to no avail. The officers eventually gave up

 and instead informed defendant that he was under arrest for destroying evidence and obstructing

 justice.

            Officer Adair began searching defendant incident to arrest and retrieved a large wad of

 cash from defendant’s front right pocket. The officers testified that at some point shortly

 thereafter, defendant began running from the vehicle. Adair and Jenkins pursued defendant

 while Dawson remained with Mr. Stewart. Defendant, who was handcuffed, was promptly

 captured.      Jenkins and Adair testified that they observed defendant’s mouth position was

 different from how it was during his initial detention in that it was no longer clenched.

            Other officers were notified that defendant had run from the scene and arrived to assist.

 Jenkins testified that it is common practice to retrace a suspect’s route after a pursuit, in order to

 retrieve any evidence that may have been discarded or dropped by accident. Officer Todd

 Henley was tasked with retracing defendant’s route to search for evidence, and located a plastic

 baggie on the ground that was covered in saliva and appeared to have been chewed on. A field

 test conducted by Officer Bohanon on the scene revealed that the baggie contained “crack”

 cocaine or cocaine base. Officer Dawson testified that the baggie was of a size that would

 reasonably fit in a person’s mouth.

            The officers resumed searching both detainees and the vehicle. The search revealed the

 following: $1,317 in cash belonging to defendant,5 $471 in cash belonging to Mr. Stewart,

 “crack” cocaine particles in the Crown Royal bottle, two cellular phones belonging to defendant,

 and $334 in cash found in the center console of the vehicle. The officers testified that the




 5
  Jenkins testified that approximately $1,100 was retrieved from defendant’s front right pocket,
 comprised of small bills. The remaining money was found in his other pockets.
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 denominations of the bills found on defendant were consistent with those that would be found on

 an individual involved in the drug trade.

        No marijuana was found on either individual or in the vehicle. The officers testified that

 it is common to initially detect the odor of marijuana without later finding any marijuana because

 its strong odor can linger even after marijuana has been removed from a vehicle. Defendant was

 ultimately charged with possession of narcotics. Both defendant and Mr. Stewart were later

 transported to the Gilcrease division.

 III.   Legal Standard

        “A traffic stop is a seizure within the meaning of the Fourth Amendment, ‘even though

 the purpose of the stop is limited and the resulting detention quite brief.’” United States v.

 Botero-Ospina, 71 F.3d 783, 786 (10th Cir. 1995) (quoting Delaware v. Prouse, 440 U.S. 648,

 653 (1979)); see also Heien v. North Carolina, 135 S. Ct. 530, 536 (2014) (“A traffic stop for a

 suspected violation of law is a ‘seizure’ of the occupants of the vehicle and therefore must be

 conducted in accordance with the Fourth Amendment.”). A traffic stop is “more analogous to an

 investigative detention than a custodial arrest.” Id. Thus, the analysis under Terry v. Ohio, 392

 U.S. 1 (1968), governs. United States v. Caro, 248 F.3d 1240, 1244 (10th Cir. 2001).

        Courts assess the reasonableness of a traffic stop under the Fourth Amendment using the

 following two-step inquiry from Terry v. Ohio: first, the district court determines “‘whether the

 officer’s action was justified at its inception,’ and second ‘whether it was reasonably related in

 scope to the circumstances which justified the interference in the first place.’” Botero-Ospina,

 71 F.3d at 786 (quoting Terry v. Ohio, 392 U.S. 1, 20 (1968)). Under the first prong of Terry, “a

 traffic stop is valid under the Fourth Amendment if the stop is based on an observed traffic




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 violation or if the police officer has reasonable articulable suspicion that a traffic or equipment

 violation has occurred or is occurring.” Id. at 787.

        The second Terry prong generally requires that “an investigative detention . . . ‘last no

 longer than is necessary to effectuate the purpose of the stop.’” United States v. Cervine, 347

 F.3d 865, 870-71 (10th Cir. 2003) (quoting United States v. Patten, 183 F.3d 1190, 1193 (10th

 Cir. 1999) (internal quotations omitted)). This is usually limited to requesting a driver’s license,

 vehicle registration, running a computer check, and issuing a citation.         Id.   “The officer,

 however, may extend this detention for reasons unrelated to the traffic stop under two

 circumstances: (1) if the officer has ‘an objectively reasonable and articulable suspicion that

 illegal activity has occurred or is occurring’; or (2) ‘if the initial detention has become a

 consensual encounter.’” Id. at 871 (quoting United States v. Gonzalez-Lerma, 14 F.3d 1479,

 1483 (10th Cir. 1994) (overruled on other grounds)).

 IV.    Analysis

        A. Defendant’s First Motion to Suppress

        Defendant’s First Motion to Suppress seeks to exclude “any and all information gleaned

 from the stop” on October 21, 2013 that the government intends to introduce at trial. (Doc. 1796

 at 6). The government objects to the motion on the grounds that the traffic stop satisfies both

 requirements under Terry; the government argues first, that the initial traffic stop was reasonable,

 and second, that there was probable cause to expand the scope of the detention beyond that of a

 routine traffic stop. (Doc. 1813 at 5-6).

        The Court reiterates its determination that the testifying officers were credible and also

 that the testimony of Officers Turnbough and Bohanon was consistent with one other.




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                   1. First Terry prong

         While defendant’s motion disputes the fact that a traffic violation even occurred to justify

 the traffic stop (Doc. 1796 at 3), the Court declines to credit this argument as the uncontroverted

 sworn testimony of Officers Bohanon and Turnbough confirms the opposite. Further, at the

 hearing, defendant did not dispute that he failed to signal the turn. Thus, the Court finds that the

 first prong of Terry is unquestionably met. The car was stopped after both officers observed

 defendant fail to signal prior to making a right hand turn, which is a traffic violation under state

 law. See Okla. Stat. tit. 47, § 309 (failing to signal before leaving a traffic lane is a violation of

 the law).    The law clearly indicates that an officer’s observation of a traffic violation

 automatically justifies the initiation of a traffic stop under the Fourth Amendment. United States

 v. Cervine, 347 F.3d 865, 870 (10th Cir. 2003) (“[O]nce the Trooper observed a traffic violation,

 such as swerving across the lane dividing line in violation of [a state statute], the subsequent

 traffic stop was valid.”).6

                   2. Second Terry prong

         The Court likewise finds that the government has satisfied the second prong of Terry. In

 his motion and at the hearing, defendant’s argument remained that the officers’ failure to

 corroborate the marijuana smell they assert justified their search of the vehicle violates the

 second prong of Terry. (Doc. 1796 at 4-5). It is evident this is not the case.



 6
   The fact that the officers were alerted to defendant’s vehicle based on a request for assistance
 from a surveillance unit plays no role in the Fourth Amendment analysis. See United States v.
 Cervine, 347 F.3d 865, 870 (10th Cir. 2003) (traffic stop initiated for observed traffic violation
 was reasonable even where another agency informed the officers to be on the lookout for
 defendant, because “[t]he fact that the troopers had other motivations for stopping [the
 defendant] has no bearing upon [the Terry analysis]”); see also Whren v. United States, 517 U.S.
 806, 813 (1996) (“Subjective intentions play no role in ordinary, probable-cause Fourth
 Amendment analysis.”).


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         As stated above, a police officer may extend a detention beyond the scope of its original

  purpose where the officer has either obtained the detainee’s consent, or where the officer has

  “‘an objectively reasonable and articulable suspicion that illegal activity has occurred or is

  occurring.’” Cervine, 347 F.3d at 871 (quoting United States v. Gonzalez-Lerma, 14 F.3d 1479,

  1483 (10th Cir. 1994) (overruled on other grounds)). There is no dispute that defendant did not

  consent to the encounter. However, the Tenth Circuit has repeatedly held that an officer’s

  detection of the smell of marijuana “alone establishes probable cause to search a vehicle for the

  illegal substance.” United States v. Snyder, 793 F.3d 1241, 1244 (10th Cir. 2015); see also

  United States v. Johnson, 30 F.3d 970, 974 (10th Cir. 2010) (holding that officer’s detection of

  “a strong odor of burnt marijuana emanating from the car” subsequent to stopping the defendant

  for a traffic violation constituted probable cause to search the vehicle).7 In Snyder, the court held

  that the smell of marijuana alone provided probable cause to search the defendant’s vehicle, even

  though the search revealed no marijuana to corroborate the officer’s observation. Snyder, 793

  F.3d at 1245. As the same facts are present here, Snyder is controlling.

         Accordingly, the Court finds that the officers’ observation of the burnt marijuana smell

  alone constituted probable cause to search defendant’s vehicle. As the government has satisfied

  both prongs under Terry, defendant’s First Motion to Suppress (Doc. 1796) is therefore denied.

         B. Defendant’s Second Motion to Suppress




  7
    The cases cited by defendant and the government are inapposite as both dealt with challenges to
  searches of a suspect’s trunk based on an officer’s detection of the odor of marijuana. See
  United States v. Zabala, 346 F.3d 1255 (10th Cir. 2003) (finding probable cause to search
  vehicle’s trunk based on detection of marijuana coming from vehicle while conducting traffic
  stop); United States v. Nielsen, 9 F.3d 1487 (10th Cir. 1993) (no probable cause to search
  defendant’s trunk based on detection of marijuana in the absence of corroborating evidence).
  The defendant has not specifically contested the search of his trunk in this case.
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         Defendant’s Second Motion to Suppress (Doc. 1797) likewise asserts that any evidence

  obtained from the February 5, 2013 traffic stop should be suppressed because the officers

  violated defendant’s Fourth Amendment rights. The government again responds that the stop

  satisfied the two prongs under Terry v. Ohio.

         As was the case with the witnesses who testified regarding the October 21, 2013 traffic

  stop, Officers Dawson, Jenkins, Adair, and Bohanon, who testified regarding the February 5,

  2013 stop, were also credible and their testimony was consistent with one another.

                 1. First Terry prong

         Defendant does not dispute the fact that he and Mr. Stewart were not wearing seatbelts,

  but contests the manner in which the officers discovered the traffic violation that justified the

  stop. Specifically, defendant argues that Officer Dawson’s act of shining a spotlight on the

  moving vehicle is dangerous and also amounts to a search under the Fourth Amendment.

  However, defendant provides no case law suggesting that a law enforcement officer’s method of

  discovering a traffic violation leading to a traffic stop is in any way relevant to the Terry inquiry.

  Nonetheless, the Court addresses defendant’s arguments.

         First, defendant cites no case law in support of his argument that spotlighting a vehicle is

  dangerous such that it would constitute a Fourth Amendment violation. At the hearing, the

  officers testified that, at the time of the search, it was not uncommon for Tulsa Police

  Department officers to use a spotlight to illuminate areas while on patrol. The officers justified

  the use of the spotlight based on the unsafe nature of the neighborhood in light of recent

  shootings. The officers also testified that they would have shined the spotlight at any vehicle

  coming toward them in that particular neighborhood at that time. Dawson testified that the

  February 5, 2013 incident was neither the first nor the last time he used a spotlight to illuminate a



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  moving vehicle, and the other officers also testified that they had also used a spotlight in the

  same manner prior to and after this incident. Moreover, it is unclear how dangerous the use of

  the spotlight was, as multiple officers testified that it was brief, and while the vehicle was

  moving slowly, after having stopped at a stop sign. Dawson further testified that he would not

  have used the spotlight if he and defendant were driving on the highway.

         In the absence of anything more from defendant, there is no basis upon which the Court

  can find that Dawson’s use of a spotlight to illuminate a vehicle violates the Fourth Amendment.

  Defendant’s argument thus fails.

         Second, and in direct contrast to defendant’s contention that Officer Dawson’s actions

  constituted a search, the Tenth Circuit has held that “‘the use of artificial means to illuminate a

  darkened area simply does not constitute a search, and thus triggers no Fourth Amendment

  protection.’” United States v. Gonzalez-Acosta, 989 F.2d 384, 387-88 (10th Cir. 1993) (quoting

  Texas v. Brown, 460 U.S. 730, 740 (1983)). There, the court held that a law enforcement

  officer’s inspection of the undercarriage of the defendant’s vehicle did not constitute a “search”

  within the meaning of the Fourth Amendment. Id. The court reasoned that a law enforcement

  officer may “‘change his position’ and ‘bend down at an angle’ to see what is inside a car,

  because ‘there is no reason why an officer should be precluded from observing what would be

  entirely visible to him as a private citizen.’” Id. Thus, there is no Fourth Amendment violation

  based Officer Dawson’s use of a spotlight, and defendant’s second argument fails.




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         It is clear that Officer Dawson’s observation of defendant and Mr. Stewart not wearing a

  seatbelt8 justifies the initiation of a traffic stop, as was the case for the October 21, 2013 stop.

  See Cervine, 347 F.3d at 870. Thus, the government has met the first Terry prong.

                 2. Second Terry prong

         Defendant’s argument under the second Terry prong is identical to the argument asserted

  under the same prong in his First Motion to Suppress: because the officers were unable to

  corroborate the raw marijuana smell they assert is the reason for the stop, the detention cannot

  satisfy the second Terry prong. (Doc. 1797 at 8-10). For the reasons discussed above, this

  argument likewise fails.

         Accordingly, because the government has satisfied both prongs of Terry, defendant’s

  Second Motion to Suppress (Doc. 1797) is also denied.

  V.     Conclusion

         For the reasons set forth above, defendant’s First Motion to Suppress regarding October

  21, 2013 (Doc. 1796) and defendant’s Second Motion to Suppress regarding February 5, 2013

  (Doc. 1797) are denied.

         SO ORDERED this 21st day of April, 2016.




  8
   See Okla. Stat. tit. 47, § 47-12-417 (it is a violation of the law for the driver and front seat
  passenger of a vehicle to not wear a seat belt).
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